                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                             MACON DIVISION

 SUSAN LAKE, AKA SUSAN                    )
 BISHOP,                                  )
                                          ) Civil Action File No.:
         Plaintiff,                       ) 5:22-cv-00045-MTT
                                          )
 v.                                       )
                                          )
 HEALTHCARE REVENUE                       )
 RECOVERY GROUP, LLC, DBA                 )
 ACCOUNT RESOLUTION                       )
 SERVICES,                                )
                                          )
         Defendant.                       )
                                          )

                      CERTIFICATE OF INTERESTED PERSONS

        (1) The undersigned counsel of record for a party to this action certifies that

the following is a full and complete list of all parties in this action, including any

parent corporation and any publicly held corporation that owns 10% or more of the

stock of a party:

      - SUSAN LAKE, AKA SUSAN BISHOP, Plaintiff

      - HEALTHCARE REVENUE RECOVERY GROUP, LLC, DBA

        ACCOUNT RESOLUTION SERVICES, Defendant


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      (2) The undersigned further certifies that the following is a full and complete

list of all other persons, associations, firms, partnerships, or corporations having

either a financial interest in or other interest that could be substantially affected by

the outcome of this particular case:

      N/A

      (3) The undersigned further certifies that the following is a full and complete

list of all persons serving as attorneys for the parties in this proceeding:

      Matthew Berry,
      mberry@mattberry.com
      Telephone: (404)-235-3334
      Berry & Associates
      2751 Buford Highway, Suite 600
      Atlanta, GA 30324
      Counsel for Plaintiff

      Respectfully submitted this 24th day of January, 2022.

                                               BERRY & ASSOCIATES, P.C.
                                               /s/ Matthew Berry
                                               Matthew Berry, GA Bar No.: 055663
                                               mberry@mattberry.com




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